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          ORDERED in the Southern District of Florida on August 18, 2020.




                                                                   Robert A. Mark, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________
                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov



       In re: Juan Perez Mier
                                                         Case No: 20-13622-RAM-
                                                         Chapter 13

                          Debtor(s) /

               AGREED ORDER GRANTING MOTION TO VALUE AND DETERMINE
                SECURED STATUS OF LIEN ON PERSONAL PROPERTY HELD BY
                NISSAN MOTOR ACCEPTANCE

              THIS CASE came to be heard on August 11, 2020 at 9:00 AM on the Debtor’s

       Motion to Value and Determine Secured Status of Lien on Personal Property (DE 17 ; the

       “Motion”). Based upon the debtor’s assertions made in support of the Motion, noting the

       agreement between the parties, having considered the record in this case, and being duly

       advised in the premises, the Court FINDS as follows:

              A. The value of the debtor’s personal property (the “Personal Property”) more

                   particularly described as follows (Select only one):

                    X Motor vehicle described as follows:


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                    Year and Model of motor vehicle:
                    2016 NISSAN ROGUE 2WD
                    Vehicle Identification Number (VIN #):
                    KNMAT2MTXGP639449
                    Odometer reading: 94,794 miles

                    Personal property other than a motor vehicle described as follows:

                    is $ 10,000.13 at the time of the filing of this case.

             Consequently, it is ORDERED as follows:

             1.     The Motion is GRANTED.

             2.     Lender has an allowed secured claim in the amount of $ 10,000.13            .

             3.     (Select only one):


                     X Lender filed a proof of claim in this case [POC#3-1].           It shall be

                        classified as a secured claim in the amount provided in paragraph 2,

                        above, and as a general unsecured claim in the amount of

                        $7,599.02, regardless of the original classification in the proof of claim

                        as filed. Lender’s secured claim shall be paid through the plan at 5.25

                        % for a total f $ 11,391.74             .

             4.     The Personal Property may not be sold or refinanced without proper notice

                    and further order of the Court.

             5.     Notwithstanding the foregoing, this Order is not recordable or enforceable

                    until the debtor receives a discharge in this chapter 13 case.

             6.     Upon notification that the debtor has received a discharge, the creditor shall

                    take all steps necessary to release the lien upon the personal property.

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 Submitted by:
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 Attorney Sanchez is directed to serve a conformed copy of this Order on all interested
 parties immediately upon receipt hereof and to file a certificate of service.




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